                                             UNITED STATES DISTRICT COURT
                                        FOR THE NORTHERN DISTRICT OF NEW YORK

                                                            EXHIBIT LIST

CASE NAME:          Antonyuk, et al. v. Bruen
                                                                                                       Page ____ of ____
CASE NUMBER:            1:22-cv-0734

DATE:                 August 23, 2022           _____

PRESIDING JUDGE:       HON. GLENN T. SUDDABY

(    ) PLAINTIFFS         ( X )     DEFENDANT           (    ) COURT

    EXHIBIT   DATE MARKED FOR      DATE ADMITTED
    NUMBER     IDENTIFICATION      INTO EVIDENCE            REMARKS        WITNESS          EXHIBIT DESCRIPTION

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